                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             COLUMBIA DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )      Criminal No. 1:12-00001
                                                   )      Judge Trauger
[2] WAYNE HAMPTON, JR.,                            )
                                                   )

                                          ORDER

       The sentencing in this case was scheduled for August 29, 2013 at 3:00 p.m. At that time,

government counsel and the defendant were present, but defense counsel did not appear until

4:20 p.m. It is hereby ORDERED that this sentencing is RESET for Thursday, October 10,

2013, at 10:00 a.m.

       It is so ORDERED.

       ENTER this 29th day of August 2013.



                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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